                                         UNITED STATES DISTRICT COURT
                      Case 2:08-cr-00251-GEB  DocumentOF6 CALIFORNIA
                                      EASTERN DISTRICT     Filed 06/26/08 Page 1 of 1

UNITED STATES OF AMERICA                                  )
                                                          )       CR.S-08-251 GEB
                 v.                                       )
                                                          )
STEVEN DANGERFIELD                                        )

                                  APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus

                           (X) Ad Prosequendum                             () Ad Testificandum

Name of Detainee:                STEVEN DANGERFIELD
Detained at (custodian):         RIO COSUMNES CORRECTIONAL CENTER

Detainee is:               a.)   (X) charged in this district by: (X) Indictment () Information () Complaint
                                    charging detainee with: Possession of Stolen Mail and Unlawful Possession and Use
                                    of Identification of Another
                 or        b.)   () a witness not otherwise available by ordinary process of the Court

Detainee will:             a.)   () return to the custody of detaining facility upon termination of proceedings
                 or        b.)   (X) be retained in federal custody until final disposition of federal charges, as a
                                 sentence is currently being served at the detaining facility

     Appearance is necessary on JULY 8, 2008, AT 2:00 BEFORE THE UNITED STATES MAGISTRATE
JUDGE in the Eastern District of California.

                                 Signature:                      /s/ ROBIN R. TAYLOR
                                 Printed Name & Phone No:        Robin R. Taylor (916) 554-2722
                                 Attorney of Record for:         United States of America

                                             WRIT OF HABEAS CORPUS

                           (X) Ad Prosequendum                             () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, July 8, 2008, at 2:00pm, before the United States
Magistrate Judge, 501 I Street, 8th Floor, Sacramento, California, and any further proceedings to be had in this cause, and
at the conclusion of said proceedings to return said detainee to the above-named custodian.
Date: June 26, 2008



_________________________________________________________________________________________________
Please provide the following, if known:
                                                                                 X
AKA(s) (if applicable):          ____________________                           Male Female
Booking or CDC #:                X - REF. NO. X-676228                   DOB: 09/27/1963
Facility Address:                 12500 Bruceville Road                  Race:
                                 Elk Grove, CA 95757                     FBI #:
Facility Phone:                   (916) 874-1927
Currently Incarcerated For:       Mail Fraud
_________________________________________________________________________________________________
                                                   RETURN OF SERVICE
Executed on      ____________________________                  By: ___________________________________________________
                                                                   (Signature)
